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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 Alliance for Retired Americans,
    815 16th Street NW, 4th Floor
    Washington, DC 20006,

 American Federation of
 Government Employees, AFL-CIO,
   80 F Street NW,
   Washington, D.C. 20001, and

 Service Employees International            Civil Action No. 25-313
 Union, AFL-CIO,
    1800 Massachusetts Ave. NW,
    Washington, DC 20036,

           Plaintiffs,

            v.

 Scott Bessent, in his official
 capacity as Secretary of the
 Treasury,
    1500 Pennsylvania Ave. NW
    Washington, DC 20220,

 Department of the Treasury,
   1500 Pennsylvania Ave. NW
   Washington, DC 20220, and

 Bureau of the Fiscal Service,
   3201 Pennsy Drive, Building E
   Landover, MD 20785,

           Defendants.


      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      1.     Plaintiffs Alliance for Retired Americans, American Federation of

Government Employees, AFL-CIO, and Service Employees International Union,

AFL-CIO, file this action against defendants Scott Bessent, in his official capacity as
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Secretary of the Treasury, the Department of the Treasury, and the Bureau of the

Fiscal Service, agencies of the United States, for declaratory and injunctive relief to

halt Defendants’ unlawful ongoing, systematic, and continuous disclosure of personal

and financial information contained in Defendants’ records to Elon Musk and other

members of the so-called “Department of Government Efficiency” (DOGE), or to any

other person.

      2.     Millions of individuals engage in financial transactions with the federal

government. The government collects trillions of dollars from individuals who pay

their income taxes, obtain government services, and pay back loans and other debts

that they owe. People also receive money from the federal government. Social security

retirement and disability payments, federal tax refunds, veterans’ benefits, and

salaries and wages for federal workers are some examples of payment transactions

that occur between ordinary individuals and federal agencies.

      3.     The job of effectuating these financial transactions for the federal

government belongs to the Department of the Treasury (the Department), operating

through the Bureau of the Fiscal Service (the Bureau). To carry out its duties, the

Department collects and maintains sensitive personal and financial information

about the individuals who are the counterparties to the transaction. Names, Social

Security numbers, birth dates, birth places, home addresses and telephone numbers,

email addresses, and bank account information about millions of individuals are

maintained within the Department’s records to enable the secure and timely transfer

of funds between federal agencies and members of the public.



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      4.     Federal laws protect sensitive personal and financial information from

improper disclosure and misuse, including by barring disclosure to individuals who

lack a lawful and legitimate need for it.

      5.     In his first week as Treasury Secretary, defendant Bessent violated

these restrictions. Elon Musk and/or other DOGE members had sought access to the

Bureau’s records for some time, only to be rebuffed by the employee then in charge of

the Bureau. Within a week of being sworn in as Treasury Secretary, Mr. Bessent

placed that civil servant on leave and granted DOGE-affiliated individuals full access

to the Bureau’s data and the computer systems that house them. He did so without

making any public announcement, providing any legal justification or explanation for

his decision, or undertaking the process required by law for altering the agency’s

disclosure policies.

      6.     The scale of the intrusion into individuals’ privacy is massive and

unprecedented. Millions of people cannot avoid engaging in financial transactions

with the federal government and, therefore, cannot avoid having their sensitive

personal and financial information maintained in government records. Secretary

Bessent’s action granting DOGE-affiliated individuals full, continuous, and ongoing

access to that information for an unspecified period of time means that retirees,

taxpayers, federal employees, companies, and other individuals from all walks of life

have no assurance that their information will receive the protection that federal law

affords. And because Defendants’ actions and decisions are shrouded in secrecy,

individuals will not have even basic information about what personal or financial



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information that Defendants are sharing with outside parties or how their

information is being used.

      7.     People who must share information with the federal government should

not be forced to share information with Elon Musk or his “DOGE.” And federal law

says they do not have to. The Privacy Act of 1974 generally, and the Internal Revenue

Code with respect to taxpayer information, make it unlawful for Secretary Bessent to

hand over access to the Bureau’s records on individuals to Elon Musk or other

members of DOGE. Plaintiffs file this action to put an immediate stop to Defendant’s

systematic, continuous, and ongoing violation of federal laws that protect the privacy

of personal information contained in federal records. This Court’s exercise of

equitable authority is the only adequate avenue available to Plaintiffs to protect the

trust that Plaintiffs’ members, and other citizens, taxpayers, and workers, have

placed in the federal government in reliance of the laws that Congress enacted to

assure the public that what Secretary Bessent is doing would never happen.

                          JURISDICTION AND VENUE

      8.     This Court has statutory jurisdiction over this action pursuant to 28

U.S.C. § 1331, because this action arises under the laws of the United States, namely,

the Administrative Procedure Act (APA), 5 U.S.C. §§ 702, 706.

      9.     Venue is proper in this judicial district under 28 U.S.C. § 1391(e)(1)(A)

because defendants are officers and agencies of the United States and because at least

one defendant resides in Washington, D.C.




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                                      PARTIES

      10.    Plaintiff Alliance for Retired Americans is a grassroots advocacy

organization with 4.4 million members. Founded by the AFL-CIO in 2001, the

Alliance now has 39 state alliances and members in every state. The Alliance’s retiree

activists are from all walks of life. They are former teachers, industrial workers, state

and federal government workers, construction workers, and community leaders

united in the belief that every American deserves a secure and dignified retirement

after a lifetime of hard work.

      11.    Plaintiff American Federation of Government Employees, AFL-CIO

(AFGE) is a labor organization and unincorporated association that represents

approximately 800,000 federal civilian employees through its affiliated councils and

locals in every state in the United States. AFGE members include nurses caring for

our nation’s veterans, border patrol agents securing our borders, correctional officers

maintaining safety in federal facilities, scientists conducting critical research, health

care workers serving on military bases, civilian employees in the Department of

Defense supporting our military personnel and their families, and employees of the

Social Security Administration making sure retirees receive the benefits they have

earned.

      12.    Plaintiff Service Employees International Union (SEIU) is a labor union

of approximately two million diverse workers who provide public services, healthcare,

and property services throughout the United States, Canada, and Puerto Rico. SEIU

represents approximately 80,000 federal sector employees in the U.S., including



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nurses, doctors, other healthcare workers, police officers, firefighters, correctional

officers, office workers, scientists, engineers, analysts, maintenance workers, and

more,    who    are   employed    by   and       receive   paychecks    from   the   federal

government. SEIU also represents approximately 30,000 retiree members, many of

whom receive checks from the Social Security Administration.

        13.    Defendant Scott Bessent is the Secretary of the Treasury.

        14.    Defendant Department of the Treasury is an agency of the United

States, headquartered in Washington, D.C.

        15.    Defendant Bureau of the Fiscal Service is an agency of the United States

headquartered in Landover, Maryland, and a component of the Department.

                                        FACTS

Defendants’ Collection and Maintenance of Information on Individuals

        16.    Defendants are responsible for managing the finances of the United

States Government. Their responsibilities include collecting receipts owed to the

government and making payments to recipients of public funds. 31 U.S.C. §§ 3301,

3321. In fiscal year 2024, the Department processed nearly $5 trillion in receipts,

including $2.4 trillion from individual income taxes, $1.7 trillion from social security

taxes, and $530 billion from corporate income taxes. In that fiscal year, the

Department handled $6.752 trillion in outlays, including $1.46 trillion for social

security payments and $874 billion in defense spending. 1 The U.S. Treasury is the


        1 U.S. Dep’t of Treas., Bur. of Fiscal Serv., Final Monthly Treasury Statement,

Receipts and Outlays of the United States Government For Fiscal Year 2024 Through
September 30, 2024, and Other Periods 4.

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largest collections, payments, cash management, and financial operation in the

world.

         17.   To engage in financial transactions with individuals, Defendants must

collect and maintain personal and financial information about those individuals. As

federal agencies, the Department and the Bureau are subject to the requirements of

the Privacy Act, 5 U.S.C. § 552a, with respect to records that it maintains on

individuals.

         18.   Under the Privacy Act, an agency must prepare a notice in the Federal

Register “of the existence and character of the system of records” when such a system

is established or revised. 5 U.S.C. § 552a(e)(4). This notice is referred to as a System

of Records Notice (SORN). At least 30 days before publishing a SORN, an agency

must “publish in the Federal Register notice of any new use or intended use of the

information in the system, and provide an opportunity for interested persons to

submit written data, views, or arguments to the agency.” Id. § 552a(e)(11).

         19.   The Privacy Act requires a SORN to disclose, among other things, “the

categories of individuals on whom records are maintained in the system,” “the

categories of records maintained in the system,” “each routine use of the records

contained in the system, including the categories of users and the purpose of such

use,” and “the policies and practices of the agency regarding storage, retrievability,

access controls, retention, and disposal of the records.” 5 U.S.C. § 552a(e)(4).




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      20.    The current SORN for the Bureau was published in the Federal Register

on February 27, 2020. 85 Fed. Reg. 11776. The Federal Register publication describes

20 systems of records for the Bureau.

      21.    SORN .002 concerns payment records, which are records “collected from

federal government entities that are requesting disbursement of domestic and

international payments to their recipients and is used to facilitate such payments.”

85 Fed. Reg. at 11779. Personal information contained in these records include “a

payee’s name, Social Security number, employer identification number, or other

agency identification or account number; date and location of birth, physical and/or

electronic mailing address; telephone numbers; [and] payment amount,” as well as

“financial institution information, including the routing number of his or her

financial institution and the payee’s account number at the financial institution.”

SORN .002 states that “[o]nly employees whose official duties require access are

allowed to view, administer, and control these records.”

      22.    SORN .012 concerns records about individuals who owe a debt to the

government. 85 Fed. Reg. at 11793. Personal information contained in these records

include debtor names; taxpayer identifying numbers ( i.e., Social Security number or

employer identification number); contact information, such as work and home

addresses, email addresses, and work, home and cellular numbers; “information

concerning the financial status of the debtor and his/her household, including income,

assets, liabilities or other financial burdens, and any other resources from which the

debt may be recovered”; and the name of employer or employer contact information.



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Id. at 11794. SORN .012 states that “[o]nly employees whose official duties require

access are allowed to view, administer, and control these records.” Id. at 11796.

      23.    SORN .013 concerns records “about individuals who electronically

authorize payments to the Federal Government.” 85 Fed. Reg. at 11796. Personal

information contained in these records include names; taxpayer identifying numbers

(i.e., Social Security numbers or employer identification numbers); contact

information, such as work and home addresses, email addresses, and work, home,

and cellular telephone numbers; the name and contact information of employers;

dates of birth; driver’s license numbers; bank account information; credit and debit

card numbers; individual payment information; and user names and passwords. Id.

at 11796–97. SORN .013 states that “[o]nly employees whose official duties require

access are allowed to view, administer, and control these records.” Id. at 11798.

      24.    The Privacy Act prohibits the disclosure of a record about an individual

to any person or another agency unless “the individual to whom the record pertains”

consents or a statutory exception applies. 5 U.S.C. § 552a(b).

      25.    One exception to the Privacy Act prohibition on disclosure allows

disclosure to “those officers and employees of the agency which maintains the record

who have a need for the record in the performance of their duties.” Id. § 552a(b)(1).

      26.    Another exception permits disclosure for a “routine use” if the agency

describes the routine use in a SORN. Id. § 552a(b)(3). The Bureau’s SORN, including

SORN .002, .012, and .013 specify the routine uses for which records on individuals

may be disclosed.



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      27.       Because Defendants process tax-related transactions, they are also

subject to the confidentiality requirements of the Internal Revenue Code, 26 U.S.C.

§ 6103. Section 6103 provides that “[r]eturns and return information shall be

confidential,” and cannot be disclosed by a federal officer and employee unless

authorized by statute. Return and return information include the taxpayer’s identity,

mailing address, taxpayer identification number, claims for refund, and other

information on tax returns. Id. § 6103(b)(1), (2), (6). The officers and employees of the

Treasury Department may access return and return information if their “official

duties require such inspection or disclosure for tax administration purposes.” Id.

§ 6103(h)(1).

Defendants’ Disclosure of Bureau Records on Individuals to DOGE

      28.       President Trump was inaugurated as President on January 20, 2025.

The same day, he issued an executive order establishing a so-called “Department of

Government Efficiency.” Under the executive order, the United States Digital Service

was renamed the United States DOGE Service (USDS) and a “temporary

organization” was established under 5 U.S.C. § 3161 entitled “the U.S. DOGE Service

Temporary Organizaton.”

      29.       The executive order directs the USDS Administrator to “work with

Agency Heads to promote inter-operability between agency networks and systems,

ensure data integrity, and facilitate responsible data collection and synchronization.”

It also directs agency heads to “take all necessary steps, in coordination with the

USDS Administrator and to the maximum extent consistent with law, to ensure



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USDS has full and prompt access to all unclassified agency records, software systems,

and IT systems.” The executive order “displaces all prior executive orders and

regulations, insofar as they are subject to direct presidential amendment, that might

serve as a barrier to providing USDS access to agency records and systems as

described above.”

      30.    Since his inauguration, President Trump has not formally identified the

individual who would serve as USDS Administrator or the full list of individuals that

are part of the U.S. DOGE Service Temporary Organization.

      31.    During the presidential campaign, President Trump announced that

billionaire entrepreneur Elon Musk would have a leadership role in DOGE. It is

widely reported that, since the inauguration, Mr. Musk has played a leadership role

in DOGE activities across the federal government.

      32.    The Trump administration has not publicly revealed whether Mr. Musk

has been made an officer or employee of the U.S. government or remains a private

citizen. The Trump administration also has not publicly revealed the employment

status of other individuals who are part of DOGE.

      33.    Sometime after November 5, 2024, DOGE representatives reportedly

approached officials in the Department seeking access to the agency’s payment

systems. DOGE’s efforts to obtain access continued after President Trump’s

inauguration.

      34.    Initially, DOGE’s requests for access to the Treasury’s payment systems

were reportedly rebuffed by David A. Lebryk, the highest-ranking career official at



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the agency and the individual who had been in charge of the Bureau. According to

press reports, Mr. Lebryk advised DOGE representatives during the transition period

that the information contained in the payment systems was proprietary and should

not be shared outside of the government.

      35.    On January 27, 2025, the Senate confirmed Mr. Bessent as President

Trump’s Treasury Secretary, and he was sworn in the following day. On information

and belief, Secretary Bessent and his chief of staff Dan Katz had a meeting with Mr.

Lebryk later that week, after which Mr. Lebryk was placed on administrative leave.

On Friday, January 31, Mr. Lebryk announced that he was retiring from the

Treasury after 35 years in federal service.

      36.    On information and belief, on Friday evening, January 31, defendant

Bessent gave representatives of DOGE full access to the federal payment system. 2

Senator Ron Wyden, Ranking Member of the Senate Committee on Finance, has

reported that DOGE’s access to Treasury’s payment system is complete. He has

stated that DOGE has “*full* access to this system. Social Security and Medicare

benefits, grants, payments to government contractors…. All of it.” 3

      37.    Defendants have not released the full list of DOGE-affiliated individuals

who have been provided access to the Treasury’s payment systems, or whether those

individuals are employees of the Bureau, the Department, another agency, or a



      2 Andrew Duehren et al., Elon Musk’s Team Now Has Full Access to Treasury’s

Payments System, N.Y. Times, Feb. 1, 2025.
      3   @wyden.senate.gov, Bluesky (Feb. 1. 2025, 3:37 pm) https://bsky.
app/profile/wyden.senate.gov/post/3lh5ejpwncc23.

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private enterprise. Tom Krause, the Chief Executive Officer of Cloud Software Group

(according to that company’s website, see https://www.cloud.com/leadership (Feb. 3,

2025)) is reported to be working at the Treasury Department. 4 And Secretary Bessent

has reportedly “signed off on a plan to give access to the payment system to a team

led by” Mr. Krause, who is identified in the article as “a liaison to Musk’s DOGE group

that operates out of” the USDS. 5 Defendants have not publicly disclosed the members

of Mr. Krause’s team or provided the details of the “plan” for access that Secretary

Bessent reportedly signed off on. Although an anonymous source assured that “no

one outside Treasury would have access” to the payment system, the source

apparently did not indicate whether information contained in the payment system

would be disseminated outside of the Bureau.

      38.    Mr. Musk has suggested that the DOGE team has the authority to

control disbursements at the Bureau. In response to an allegation by General Mike

Flynn (ret.) that certain federal grants to Lutheran Family Services and affiliated

organizations should end, Mr. Musk responded on X (formerly Twitter) that “The

@DOGE team is rapidly shutting down these illegal payments.” 6




      4 Andrew Duehren et al., Treasury Official Quits After Resisting Musk’s
Requests on Payments, N.Y. Times, Jan. 31, 2025.
      5 Michael Stratford et al., Trump administration gives Musk allies access to

Treasury payment system, Politico, Feb. 1, 2025.
      6@elonmusk, X (Feb. 2, 2025 3:14 am) https://x.com/elonmusk/status/
1885964969335808217.

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      Defendants’ Unlawful Actions Harm Plaintiffs’ Members

      39.    Plaintiffs’ members are among the millions of people who send or receive

money to the federal government using the Bureau’s payment, collections, and

electronic funds systems.

      40.    Plaintiff Alliance for Retired Americans has members who receive

monthly Social Security retirement payments from the Treasury Department. It also

has members who receive other forms of retirement and health-related benefits, such

as Railroad Retirement Benefits, pension income for federal government service,

disability and workers compensation benefits under the Federal Employees’

Compensation Program, federal black lung benefits and veterans benefits. Plaintiffs

AFGE and SEIU each have members who are federal employees and who work in a

wide variety of positions, in every state and the District of Columbia. Their members

who are actively working must engage in transactions with Defendants to receive

their salaries and wages from their federal employment, while their retired members

must do so to receive their pension benefits.

      41.    Each Plaintiff also has members who pay federal income taxes or receive

refunds and who have done so and will do so again in the current tax season.

      42.    The Bureau will collect and maintain personal and financial information

about Plaintiffs’ members to make the income payments and benefits they are owed

and to process their tax payments or refunds.

      43.    Defendants have the statutory responsibility to protect the sensitive

personal and financial information that they collect and maintain about individuals



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from unnecessary and unlawful disclosure to third parties. Defendants have acted

inconsistently with that responsibility by granting individuals associated with DOGE

access to the extensive records that the Bureau maintains on every individual with

whom it engages in financial transactions. Moreover, Defendants have taken this

action without obtaining or even asking for the consent of affected individuals.

      44.    Plaintiffs’ members rely on Defendants’ payment, collection, and other

systems to make and receive payments from the government. They do not have the

option of avoiding dealing with Defendants to avoid improper disclosure or misuse of

their personal and financial information. Defendants’ actions have thus harmed

Plaintiffs’ members by depriving them of privacy protections guaranteed to them by

federal law and, consequently, the ability to decide for themselves whether Elon

Musk or other individuals should be able to obtain and use their personal data to

advance DOGE’s agenda.

                                     COUNT I
                                 (Contrary to law)

      45.    The APA directs courts to hold unlawful and set aside agency actions

that are found to be arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law. 5 U.S.C. § 706(2)(A).

      46.    The Privacy Act prohibits Defendants from disclosing records on

individuals to Mr. Musk, other individuals associated with DOGE, or any other

person without the individual’s consent except in specified circumstances.

      47.    The Internal Revenue Code, 26 U.S.C. § 6013, prohibits Defendants

from disclosing return and return information about taxpayers to Mr. Musk, other


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individuals associated with DOGE, or any other person except for officers or

employees of the Treasury Department whose official duties require such inspection

or disclosure for tax administration purposes.

      48.    Defendants have implemented a continuous and ongoing system for

disclosing records on Plaintiffs’ members without obtaining consent from each

member.

      49.    Defendants have implemented a system for disclosing records on

Plaintiffs’ members to individuals who are not officers or employees of the Bureau

who have a need for the records in the performance of their duties.

      50.    Defendants have implemented a system for disclosing records on

Plaintiffs’ members to individuals for purposes other than the routine uses specified

in the Bureau’s SORNs.

      51.    Defendants have implemented a system for disclosing tax returns and

return information of Plaintiffs’ members to individuals who are not officers and

employees involved in tax administration as part of their official duties.

      52.    Defendants’ actions violate the prohibitions in the Privacy Act and

Section 6103 of the Internal Revenue Code and are thus contrary to law.

      53.    Defendants’ action is “final agency action for which there is no other

adequate remedy in a court.” 5 U.S.C. § 704. An individual action against the agency

for damages under the Privacy Act or the Internal Revenue Code would not put a stop

to the ongoing unlawful access that Defendants have granted to the personal and




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financial information of Plaintiffs’ members. Defendants’ action therefore is “subject

to judicial review.” Id. § 702.

                                     COUNT II
                             (Arbitrary and capricious)

       54.    The APA directs courts to hold unlawful and set aside agency actions

that are found to be arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law. 5 U.S.C. § 706(2)(A).

       55.    Agency action is arbitrary and capricious when an agency fails to engage

in reasoned decisionmaking when it adopts or alters its policies.

       56.    Defendants failed to engage in reasoned decisionmaking when they

implemented a system under which Elon Musk or other individuals associated with

DOGE could access the Bureau’s records for purposes other than those authorized by

the Privacy Act, the Bureau’s SORNs, and the Internal Revenue Code. In particular,

Defendants failed to consider their legal obligations under federal law, the harm that

their actions would cause to the objectives that those statutes sought to achieve, or

the harm caused to Plaintiffs’ members or the general public.

       57.    Defendant’s action is final agency action for which there is no other

adequate remedy in a court and therefore is subject to judicial review. Id. § 704; see

id. § 702.

                                     COUNT III
                           (Excess of statutory authority)

       58.    Defendants have a non-discretionary duty to protect records on

individuals, and the returns and return information of taxpayers, from unauthorized

disclosure.

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      59.    Defendants’ ongoing, systematic, and continuous action in permitting

Elon Musk and/or other individuals associated with DOGE to access the Bureau’s

records and the personal and financial information contained therein violates that

duty and is in excess of their statutory authority. Id. § 706(2)(C).

                              PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

   a. Declare that Defendants’ decision to implement a system by which Elon Musk

      or other DOGE-affiliated individuals may access the Bureau’s records and

      obtain personal information about individuals and taxpayers contained there

      is unlawful.

   b. Enjoin Defendants from continuing to permit such access or obtain such

      personal information.

   c. Enjoin Defendants to ensure that future disclosure of individual records will

      occur only in accordance with the Privacy Act, the Internal Revenue Code, and

      the SORNs applicable to the system of records at issue.

   d. Grant any temporary, preliminary, or permanent injunctive relief necessary to

      protect the privacy of individuals whose information is contained within the

      system of records.

   e. Award Plaintiffs their costs and attorneys’ fees for this action; and

   f. Grant any other relief as this Court deems appropriate.




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Dated: February 3, 2025                  Respectfully submitted,

                                         /s/ Nandan M. Joshi
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                                         Nicolas Sansone (DC Bar No. 1686810)
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                                         600 Pennsylvania Avenue SE
                                         #15180
                                         Washington, DC 20003




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